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              UNITED STATES COURT OF INTERNATIONAL TRADE

 OCP S.A.,

                   Plaintiff,

 EUROCHEM NORTH AMERICA CORPORATION,

                   Consolidated Plaintiff,               Consol. Court No. 21-00219

             and

 PHOSAGRO PJSC, INTERNATIONAL RAW
 MATERIALS LTD., and KOCH FERTILIZER, LLC,

                    Plaintiff-Intervenors,

             v.

 UNITED STATES,

                     Defendant,

             and

 THE MOSAIC COMPANY and J.R. SIMPLOT
 COMPANY,

                     Defendant-Intervenors.


                                ORDER OF REASSIGNMENT


      Pursuant to 28 U.S.C. § 253(c) and Rule 77(e)(4) of the Rules of this Court, the

above-entitled action, previously assigned to the Honorable Stephen Alexander Vaden,

is hereby reassigned to the Honorable M. Miller Baker.

      Dated at New York, New York, this 7th day of July, 2025.


                                                    /s/ Mark A. Barnett
                                                      Mark A. Barnett
                                                      Chief Judge
